         Case 3:19-cv-02573-EMC           Document 1954         Filed 06/09/23   Page 1 of 6



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18
                               IN THE UNITED STATES DISTRICT COURT
19                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
20

21                                                     Case No. 3:19-cv-02573-EMC (lead case)

22   IN RE HIV ANTITRUST LITIGATION                    DEFENDANTS’ MOTION TO
                                                       SHORTEN TIME ON BRIEFING AND
23                                                     HEARING RE DEFENDANTS’
                                                       MOTION TO PRECLUDE
24
                                                       UNTIMELY EXPERT OPINIONS
25                                                     FROM EDWARD LENTZ

26   THIS DOCUMENT RELATES TO:                         Ctrm:          5-17th Floor
     All Actions                                       Judge:         Honorable Edward M. Chen
27

28
       DEFENDANTS’ MOTION TO SHORTEN TIME ON BRIEFING AND HEARING RE DEFENDANTS’
            MOTION TO PRECLUDE UNTIMELY EXPERT OPINIONS FROM EDWARD LENTZ
                               (CASE NO: 3:19-CV-02573-EMC)
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 1          Pursuant to Local Rule 6-3, Defendants hereby move the Court, for good cause shown, to shorten
 2   time to hear and brief Defendants’ Motion to Preclude Untimely Expert Opinions from Edward Lentz (the
 3   “Motion”).
 4          As set forth in the Motion, Defendants move for an order precluding Plaintiffs from eliciting any
 5   new opinions from Mr. Lentz regarding Staci Julie’s 2013 and 2014 emails or in response to Ms. Julie’s
 6   trial testimony. Based on Mr. Lentz’s presence during the trial examination of Ms. Julie, Plaintiffs’ refusal
 7   to commit to not offering new opinions, and Plaintiffs’ reservation of “all rights to ask questions on
 8   redirect responsive to Defendants’ cross examination,” it appears that Plaintiffs intend to elicit new
 9   opinions from Mr. Lentz as to Ms. Julie’s 2013 and 2014 emails and trial testimony. See Declaration of
10   Molly Grammel in Support of Defendants’ Motion to Shorten Time (“Grammel Decl.) ¶ 3, Ex. 1. Given
11   that Plaintiffs expect to call Mr. Lentz tomorrow, June 9, and did not disclose their intention to do so until
12   yesterday, June 7, the dispute has escalated quickly. Accordingly, there is good cause for the Court to
13   shorten time to brief and hear Defendants’ Motion. Shortening time to hear the Motion will not prejudice
14   Plaintiffs. Plaintiffs have been on notice of Defendants’ position since earlier in the day when Defendants
15   requested clarification on the issue and informed Plaintiffs that they would be seeking relief from the
16   Court if the parties could not resolve the issue. Grammel Decl. ¶¶ 4-5. It is imperative that the Motion
17   be resolved before any testimony or evidence from Mr. Lentz is presented to prevent any untimely and
18   improper disclosures that are barred under Federal Rules of Civil Procedure 26 and 37. Accordingly,
19   Defendants respectfully request the Court shorten time to brief and hear Defendants’ Motion.
20
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21    Dated: June 8, 2023
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 1
                                           FILER’S ATTESTATION
 2

 3          Pursuant to Local Rule 5-1(i)(3) of the Northern District of California, regarding signatures, I

 4   Christopher T. Holding attest that concurrence in the filing of this document has been obtained.

 5                                                        /s/ Christopher T. Holding
                                                          Christopher T. Holding
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 1                                      CERTIFICATE OF SERVICE
 2
            On June 8, 2023, I electronically filed the foregoing with the Clerk of the Court by using the
 3
     CM/ECF system which will send a notice of electronic filing to all persons registered for ECF. All copies
 4
     of documents required to be served by Fed. R. Civ. P. 5(a) and L.R. 5-1 have been so served.
 5
                                                         /s/ Christopher T. Holding
 6                                                       Christopher T. Holding
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